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UNITED sTATEs msTRlcT CoURT ` 19

WESTERN DISTRICT OF TENNESSEE , §_;;~§_~j ;;, 73 fw ! : _ § §
WESTERN DIVISION '* -'-» ~

 

 

JON H. ROBERTSON
and CAROL A. ROBERTSON,

Plaintiffs,

V. No. 04-CV-2645 BV

NAT]ONWIDE MUTUAL FIRE
INSURANCE COMPANY,

Defendant.

 

C()NSENT ORDER AMENDING RULE 16(b) SCHEDULE
AND CONTINUING 'I`RIAL SETTING

 

The Court, having reviewed the joint motion filed by the parties herein, and taking into
consideration their efforts to resolve this dispute, finds that it is necessary and appropriate to amend
the Rule l6(b) Scheduling Order entered in this matter on Septernber 14, 2004, and also linds that it
is necessary and appropriate to continue the October 31, 2005, trial Setting in this matter,

i“l" lS TI-IEREFORE ORDERED, ADJUDGED AND DECREED that the Rule l6(b)
Scheduling Order shall be and hereby is amended as follows:

l. Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(l): May 20, 2005

2. Joining parties and amending pleadings: June 24, 2005

3. initial motions to dismiss: .luly 22, 2005

4. Completing all discovery: October 28, 2005

(a) Document production: October 28, 2005
(b) Depositions, interrogatories and Requests for Admissions: October 28, 2005

(c) Expert Witness disclosures (Rule 26)
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with F\ule 58 and!or 79(3) FHL»P on §§ fig
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(l) Disclosure ot"Plaintiffs’ Ru|e 26 Expert lnt`orrnation: August 26, 2005
(2) Disclosure of Defendant’s Rule 26 Expert lnt`ormation: September 23, 2005
(3) Expert witness depositions: October 28, 2005

5. Filing of dispositive motions: December 2, 2005

6. The trial currently set in this case for October 3l, 2005, is continued and reset for

litigth .ZO 2006@1€1 zoa m
7. The pretrial order is due lljl@£ ch ' l , 2006.
8. The pretrial conference is set for if |Q §§ lf{: , 2006,@ Ci 3 OO O.. m-

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Honorable J. Breen
US DISTRICT COURT

